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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION

Jig. ctwl--3sen?
UNITED STATES OF AMERICA CASE NO. .2:19%-eR-!44 Fti-seven

Vv.

18 U.S.C. § 2261A(2)(A); § 2261A(2)(B)
18 U.S.C. § 2261(b)(5)
IAN DOUGLAS McGUIRE, and

18 U.S.C. § 371
BRETTON HOWARD OSBORNE 18 U.S.C. § 2
INDICTMENT
The Grand Jury charges:
COUNT ONE = oo
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A. Introduction AO. er
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At times material to this Indictment: ee ~
=o
Le Defendant Ian Douglas McGuire resided in Port Charfotte Flgrida,
S27 =
in the Middle District of Florida. = =

z Defendant Bretton Howard Osborne resided in Port Charlotte,

Florida, in the Middle District of Florida.
3. YouTube, Inc. was a video-sharing website headquartered in San

Bruno, California. Through its free membership services, the company allowed

users the ability to share, upload, download, and stream videos over a wide range

of subjects and to view, rate, share, and comment on videos, and subscribe to
other users.

4, Defendant Ian Douglas McGuire was the user of YouTube channel

“HATETHESTATE.” Defendant Ian Douglas McGuire posted videos to this
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YouTube channel.

5. Fire RTC provided free online “spoofed” /anonymized phone
calling services so a caller could select a different calling number and then make a
phone call that appeared to originate from that “spoofed” calling number. This
allowed the caller to disguise the caller’s true identity when calling others.

B. Objects of the Conspiracy

6. From a date unknown, but at least by on or about March 8, 2019,
and continuing through on or about June 27, 2019, in the Middle District of
Florida, and elsewhere, the defendants,

IAN DOUGLAS McGUIRE, and
BRETTON HOWARD OSBORNE,

did knowingly and willfully combine, conspire, confederate and agree together
and with others known and unknown to the Grand Jury to commit the following
offense: with the intent to injure, harass, and cause substantial emotional
distress to a person, namely victim A.G.W., used facilities of interstate
commerce, including the mail, electronic mail and internet websites, to engage in
a course of conduct that placed victim A.G.W. in reasonable fear of serious
bodily injury, and that caused, attempted to cause, and would reasonably be
expected to cause substantial emotional distress to victim A.G.W., in violation of
18 U.S.C. § 2261A(2)(A) and § 2261A(2)(B).

C. Manner and Means

7. The manner and means by which the conspirators sought to
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accomplish the objects of the conspiracy included, among others:

a. It was part of the conspiracy that the conspirators would and
did engage in stalking and cyberstalking victim A.G.W. using various methods
and internet online platforms, including YouTube, Fire RTC, Facebook, eBay
and Yelp.

b. It was further part of the conspiracy that the conspirators
would and did mail to victim A.G.W. various items to include fecal matter and
explicit items.

c. It was further part of the conspiracy that the conspirators
would and did use third party web-based applications, including Fire RTC, to
make harassing and threatening phone calls that “spoofed” the information
transmitted to the caller ID display of the phones of victim A.G.W. and related
individuals they were calling to disguise their identity. The conspirators did this
to make it appear that the incoming calls were from other phone numbers.

d. It was further part of the conspiracy that the conspirators
would and did post videos on YouTube and pin to those videos personal
information of victim A.G.W.

e. It was further part of the conspiracy that the conspirators
would and did employ other techniques designed to harass and intimidate victim
A.G.W., to include taking photographs and video of victim A.G.W. and

conducting physical surveillance of victim A.G.W.
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f. It was further part of the conspiracy that the conspirators
would and did order services, food, and materials to be delivered to victim
A.G.W.’s residence without her knowledge and authorization.

g. It was further part of the conspiracy that the conspirators
would and did together continue to harass and intimidate victim A.G.W. despite
the fact that she had obtained a state court injunction for protection order on
March 5, 2019, forbidding defendant Ian Douglas McGuire from committing any
acts of stalking, cyberstalking, contacting or communicating with victim A.G.W.,
and committing any other violation of the injunction through an intentional
unlawful threat, word or act to do violence to victim A.G.W.

D. Overt Acts
8. In furtherance of the conspiracy and to effect the objects thereof, the
following overt acts, among others, were committed in the Middle District of
Florida, and elsewhere:

a. On or about March 8, 2019, Defendant Jan Douglas McGuire
measured from victim A.G.W.’s booth at the Punta Gorda Farmers Market 500
feet in every direction to circumvent a state court injunction for protection order
obtained by victim A.G.W. by being visible to her and to cause her emotional
distress. Defendant Ian McGuire caused this to be video-recorded and
commented on the video that he would take “a dump” at her booth site.

b. On or about March 23, 2019, Defendant Ian Douglas
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McGuire caused feces to be dumped at victim A.G.W.’s booth site at the Punta
Gorda Farmers Market. |

Cc. On or about March 24, 2019, Defendant Ian Douglas
McGuire pinned a video comment by a follower on the top of his YouTube page,
HATETHESTATE, disclosing the address of victim A.G.W. and encouraging
others to send her “fan” mail.

d. Between on or about March 29, 2019, and on or about April
10, 2019, Defendants Ian Douglas McGuire and Bretton Howard Osborne
assisted each other in posting false customer comments on the website “Yelp,” for
the workplace of victim A.G.W. that falsely alleged that victim A.G.W. was a
sexual predator, a Nazi supporter, and in posting a photograph that falsely
depicted victim A.G.W. in a pornographic image.

e. On or about April 3, 2019, defendant Bretton Howard
Osborne caused a sex toy to be ordered through eBay and subsequently shipped
to the home address of victim A.G.W.

f. On or about April 10, 2019, Defendants Ian Douglas
McGuire and Bretton Howard Osborne mailed U.S. Postal Service packages
containing fecal matter and a sex toy to victim A.G.W.

g. On or about April 10, 2019, Defendants Ian Douglas
McGuire and Bretton Howard Osborne discussed over the phone the use of a

spoofing application to make phone calls.
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h. Between on or about April 12, 2019, and April 14, 2019,
Defendants Ian Douglas McGuire and Bretton Howard Osborne left numerous
threatening phone messages on the phone of victim A.G.W. using a spoofing
application demanding that she drop the restraining order, to include threatening
to “rape her grand kids.”

1. Between on or about April 16, 2019, and April 17, 2019,
Defendants Ian Douglas McGuire and Bretton Howard Osborne caused
numerous unsolicited service calls and deliveries to be made or attempted to be
made at the residence of victim A.G.W.

j. On or about April 17, 2019, Defendant Bretton Howard
Osborne mailed a U.S. Postal Service package containing fecal matter, menstrual
pills, and laxatives to victim A.G.W., who received the package on April 19,
2019.

k. On or about April 22, 2019, Defendant Bretton Howard
Osborne drove to the residence of victim A.G.W., walked up to her front door,
took photographs knowing that victim A.G.W. had a protection order against
Defendant Ian Douglas McGuire, and falsely claimed to victim A.G.W. that he
was an Uber driver. While still at the residence, Defendant Bretton Howard
Osborne texted the photographs to Defendant Ian Douglas McGuire.

1. On or about May 18, 2019, Defendant Ian Douglas McGuire

caused two yards of seawall rock to be delivered and dumped in the middle of the
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driveway of the residence of victim A.G.W.

m. On or about May 21, 2019, Defendants Ian Douglas McGuire
and Bretton Howard Osborne caused a Priority Mail U.S. Postal Service package
containing a dead kitten to be delivered to the work place of victim A.G.W. The
package label contained the handwritten words, “Gayles Grandkids.”

n. On or about June 16, 2019, Defendants Ian Douglas McGuire
and Bretton Howard Osborne, using a spoofing application, left vulgar and
harassing voicemails on the telephone of the husband of victim A.G.W. stating,
“I’m going to burn your house downz,” “I will rape you in the ass with a shotgun
and then pull the trigger,” “I will piss all over your grandkids and kill your dog.”

Oo. On or about June 18, 2019, Defendants Ian Douglas McGuire
and Bretton Howard Osborne, using a spoofing application, made a false 911 call
to the North Port Police Department, impersonating victim A.G.W. and claiming
that an intruder was at her residence.

All in violation of 18 U.S.C. § 371.
COUNT TWO
1. The allegations contained in Paragraphs 1-5, and 7-8 of this
Indictment are re-alleged and incorporated by reference as though set forth fully
herein.
2. From on or about March 8, 2019, up to and including June 27,

2019, in the Middle District of Florida, the defendants,
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IAN DOUGLAS McGUIRE, and
BRETTON HOWARD OSBORNE,

aided and abetted by each other, with the intent to injure, harass and intimidate
victim A.G.W., used the mail, interactive computer service, electronic
communication service, electronic communication system of interstate
commerce, and other facilities of interstate commerce to engage in a course of
conduct that placed victim A.G.W. in reasonable fear of serious bodily injury,
and that caused, attempted to cause, and would reasonably be expected to cause
substantial emotional distress to victim A.G.W.

In violation of 18 U.S.C. § 2261A(2)(A), § 2261A(2)(B), § 2261(b)(5) and §

 

 

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Chief, Fort Myers Division

 
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September 19

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UNITED STATES DISTRICT COURT
Middle District of Florida
Fort Myers Division

 

THE UNITED STATES OF AMERICA
VS.

IAN DOUGLAS McGUIRE, and
BRETTON HOWARD OSBORNE

 

INDICTMENT

Violations: 18 U.S.C. § 2261A(2)(A); § 2261A(2)(B); § 2261(b)(5)
18 U.S.C. § 371
18 U.S.C. §2

 

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Foreperson

 

Filed in open court this 11th day
of September, 2019.

 

Clerk

 

Bail $

 

 

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